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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                  )   MDL No. 2804
OPIATE LITIGATION                             )
                                              )   Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:                     )
                                              )   Judge Dan Aaron Polster
ALL CASES                                     )
                                              )   Mag. Judge David A. Ruiz
                                              )
                                              )
                                              )

       PLAINTIFF CITY OF CLEVELAND’S MOTION FOR LEAVE TO FILE
          MOTION TO DISQUALIFY CAROLE RENDON UNDER SEAL

       Pursuant to Local Rule 5.2, Plaintiff City of Cleveland seeks leave of Court to file its

Motion for Leave to Disqualify Carole Rendon and accompanying documents in the above-listed

case under seal. Plaintiff files this Motion and Proposed Order to ensure compliance with CMO

No. 2: Protective Order (ECF Doc. 441) and the Protective Order Re: DEA’s ARCOS/DADS

Database (ECF Doc. 167). Plaintiff respectfully requests the option to proceed in this manner so

there are no inadvertent disclosures of confidential information subject to CMO No. 2 or the

ARCOS Protective Order.

       WHEREFORE, Plaintiff respectfully requests the Honorable Court to grant Plaintiff’s

Motion for Leave to Disqualify Carole Rendon Under Seal.

                                                   Respectfully submitted,


                                                   s/Mark Pifko
                                                   Mark Pifko
                                                   BARON & BUDD, P.C.
                                                   15910 Ventura Boulevard, Suite 1600
                                                   Los Angeles, California 91436
                                                   (818) 839-2325
                                                   (818)986-9698 (Fax)
                                                   mpifko@baronbudd.com
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                                                   s/Peter H. Weinberger
                                                   Peter H. Weinberger (0022076)
                                                   SPANGENBERG SHIBLEY & LIBER
                                                   1001 Lakeside Avenue East, Suite 1700
                                                   Cleveland, OH 44114
                                                   (216) 696-3232
                                                   (216) 696-3924 (Fax)
                                                   pweinberger@spanglaw.com

                                                    Counsel for Plaintiff the City of Cleveland


                                  CERTIFICATE OF SERVICE

              I hereby certify that on January 8, 2019, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of record

by, and may be obtained through, the Court CM/ECF system.


                                                   s/Mark Pifko
                                                   Mark Pifko
                                                   Counsel for Plaintiff the City of Cleveland




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